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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                         WESTERN DIVISION AT DAYTON

MICHELLE BRETLAND,                        : Case No. 3:20-cv-510
                                          :
       Plaintiff,                         : Magistrate Judge Sharon L. Ovington
                                          : (by full consent of the parties)
vs.                                       :
                                          :
COMMISSIONER OF THE SOCIAL                :
SECURITY ADMINISTRATION,                  :
                                          :
       Defendant.                         :


                               DECISION AND ENTRY


      This social security case is presently before the Court on the parties’ Joint Motion

to Remand. (Doc. No. 15). The parties agree that the ALJ’s findings, including the prior

non-disability finding, shall be vacated and this matter shall be remanded to the

Commissioner for further administrative proceedings pursuant to Sentence Four of Section

205 of the Social Security Act, 42 U.S.C. § 405(g). Upon remand, the Commissioner will

offer Plaintiff the opportunity for a new hearing, re-evaluate all of the evidence in the

record, including medical opinions, and issue a new decision applying the sequential

evaluation.

                       IT IS THEREFORE ORDERED THAT:

      1.      The parties’ Joint Motion to Remand (Doc. No. 15) is
              ACCEPTED;

      2.      The Clerk of Court is directed to enter Judgment in Plaintiff’s
              favor under Fed. R. Civ. P. 58;
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      3.    This matter is REMANDED to the Social Security
            Administration, pursuant to sentence four of 42 U.S.C. §
            405(g), for further consideration consistent with this Decision
            and Entry and the parties’ Motion; and

      4.    The case is terminated on the docket of this Court.

      IT IS SO ORDERED.

December 2, 2021                              s/Sharon L. Ovington
                                              Sharon L. Ovington
                                              United States Magistrate Judge




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